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                                                                                                                 Steve White, Jason
                          MARIJUANA PROFITS            MARIJUANA PROFITS   Rockview
  Sam Dorf, George                                                                                                 Vedadi, Nicole
                                                                          CapitalJJR                            Stanton, Ben Kimbro, MARIJUANA PROFITS
Archos, Darren Weiss,                                                   Private Capital,
James Leventis, Chris                                                                                             Elroy Sailor, Ana
                                                                      Alan Bluestine, Sol                       Dutra, Mark Barnard,                        MARIJUANA PROFITS
 Fotopoulos, Edward                                                   Global Investments,
        Shen                                                                                                     Eula Adams, Daniel
                                                                     Serruya Private Equity                                                                                        Canaccord
                                                                                                                       Reiner
                                                                                                                                                                                     Genuity,
                                                                                                                                                                                 Alliance Global
                                                                                                                                                                                     Partners
                                                                           OPERATIONAL
                                                                            FINANCING

                                                                                                                                                                                  OPERATIONAL
                                                                                                                                                                                   FINANCING
                                          VERANO,LLC                                                        OPERATIONAL CONTROL
            OPERATIONAL
              CONTROL

                                                                                                                                               HARVEST HEALTH, INC.

                                                                                   MICHAEL                       FAILED MERGER
                                                                                   FRONTIER                      LEADS TO SOME
                                                                                                              OPERATIONAL CONTROL

                                                                                              TRAFFICKED MARIJUANA                                                    " DIRTY" MARIJUANA
                                                                                                                                                                            PROFITS
                                                                                                                                                                                             PARTNER
                                                                                                                                                                                              CREDIT
                                                                                                                        MARIJUANA PROFITS                                                     UNION


                                                                                                                                                  MANAGEMENT
       J ohn Allison, Henry Wilkins V, Dr. William
      Young, Bill Carwell, Christine L. Edmonson,                                                                                                                             " CLEAN" LAUNDERED MARIJUANA PROFITS
     Amy Haun Hall, Bob Dale Haun, Leo Hauser,
     Ryan W Heringer, David Johnson, Robert Lee
                                                             MARIJUANA PROFITS
      Jones III, Bobbi McDaniel, Dustin McDaniel,                                        NATURAL STATE WELLNESS
                                                                                            ENTERPRISES, LLC
       Bobby McDaniel, Kristy McDaniel, Marvin                                                                                                                                      HARVEST SHELL COMPANY -
        Parks, Jeffery J. Ryan, Dr. Marvin Bruce                                                                                                                                    RANDY TAYLOR EMPLOYEES
      Sanderson, Dr. Ladd Scriber, Dr. Thomas M
                                                                                                                                                    THE
       Stank, Bill Stanley, Bart Calhoun, Melissa
                                                                                                                          FACILITY CONSTRUCTION      ROSS
          Moody, Martha Rouby, Warren Ross                                                                                  AND MANAGEMENT            GROUP


                                                                                                                           MARIJUANA PROFITS
                                       OPERATIONAL CONTROL
